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                                                       THE HONORABLE JOHN C. COUGHENOUR
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 6
                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9   TERRI ANN GRAVES, a consumer residing in             CASE NO. C19-5368-JCC
     Multnomah County,
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                                                          MINUTE ORDER
11                           Plaintiff,
             v.
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     SUTTELL AND HAMMER, et al.,
13
                             Defendants.
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            The following Minute Order is made by direction of the Court, the Honorable John C.
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     Coughenour, United States District Judge:
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            This matter comes before the Court on Plaintiff Terri Ann Graves and Defendants Suttell
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     and Hammer and Bank of America, N.A.’s stipulated motion to reopen the case for the purpose
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     of dismissing Plaintiff’s claims against Suttell and Hammer and Bank of America, N.A. with
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     prejudice (Dkt. No. 45). Plaintiff has also filed a notice of voluntary dismissal of her claims
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     against Suttell and Hammer and Bank of America, N.A. with prejudice and without costs or fees
22
     (Dkt. No. 46). In April 2020, Plaintiff voluntarily dismissed those claims without prejudice (Dkt.
23
     No. 43) and the Court entered judgment and closed the case (Dkt. No. 44). The stipulating parties
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     have not provided briefing on the basis for their request that the Court amend the judgment.
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     Accordingly, the parties are ORDERED to file a supplemental brief addressing the Court’s
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 1   authority to amend the judgment and the basis for the parties’ request. The brief is limited to ten

 2   (10) double-spaced pages and must be filed no later than November 6, 2020. The Clerk is

 3   directed to RE-NOTE the parties’ stipulated motion (Dkt. No. 45) for November 6, 2020.

 4          DATED this 16th day of October 2020.

 5                                                           William M. McCool
                                                             Clerk of Court
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                                                             s/Tomas Hernandez
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                                                             Deputy Clerk
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